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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 TAMEA GRANT,

           Plaintiff,
                  v.                                        Civil Action Nos. 17-1159 (JEB)
                                                                              17-1410 (JEB)
 ENTERTAINMENT CRUISES, INC.;
 SPIRIT CRUISES, LLC,

           Defendants.


                          MEMORANDUM OPINION AND ORDER

       Following a couple of prior Opinions of this Court, what remains of Tamea Grant’s pro

se suit are two causes of action, one under the District of Columbia’s Industrial Safety Act (ISA)

and the other under the federal Jones Act, a maritime statute. Although Plaintiff, a deckhand on

a local cruise ship who allegedly suffered injuries during a docking incident, wishes to proceed

with both, such desire must yield to federal preemption law. As Defendants’ new Motion to

Dismiss correctly posits, the federal claim preempts the local, such that only the former may go

forward.

       In its first Memorandum Opinion, the Court dismissed the entire Amended Complaint,

except for Count II, which stated a claim under the ISA, D.C. Code § 32-808(a). Grant v.

Entertainment Cruises, Inc., 2017 WL 4675737 (D.D.C. Oct. 16, 2017). Interpreting that Act as

“provid[ing] a private right of action akin to common-law negligence,” the Court held this cause

of action to be sufficiently pled. Id. at *2 (citation omitted). It subsequently allowed Plaintiff

leave to amend to add a claim under the Jones Act, 46 U.S.C. § 30104, which created a statutory

negligence action for seamen injured on a vessel in navigation. Grant v. Entertainment Cruises,

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Inc., 2017 WL 6271271, at *2-3 (D.D.C. Dec. 7, 2017). She thus currently has two counts that

are afloat.

        Given this successful amendment, the cruise lines now argue that the Jones Act provides

the exclusive remedy for a seaman injured in the circumstances Grant alleges. The Supreme

Court has said as much, while admittedly in the context of wrongful-death cases. See Miles v.

Apex Marine Corp., 498 U.S. 19, 26 (1990) (“[T]he Jones Act pre-empts state law remedies for

the death or injury of a seaman.”) (citing Gillespie v. United States Steel Corp., 379 U.S. 148,

154-56 (1964)). Other courts have understandably followed such prescription in injury-only

cases where the employer is the defendant. See, e.g., Ellenwood v. Exxon Shipping Co., 984

F.2d 1270, 1283 (1st Cir. 1993) (“[T]he Jones Act provides the exclusive recovery in negligence

for claims by seamen against their employers.”); Beltia v. Sidney Torres Marine Transport, Inc.,

701 F.2d 491, 493 (5th Cir. 1983) (Jones Act “sole basis upon which a seaman . . . may sue his

employer for negligence”) (citation and internal quotation marks omitted); Lorenzana v. Gulf

Coast Marine & Associates, Inc., 2010 WL 3766612, at *4 (E.D. Tex. Sept. 20, 2010) (“[S]tate

causes of action for negligence and gross negligence must also be preempted by the Jones Act

and general federal maritime law.”).

        Given the state of the law, Grant may now proceed on her Jones Act claim, but no other.

The ISA count must thus fall by the wayside. The Court, consequently, ORDERS that:




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       1.      Defendants’ Motion to Dismiss is GRANTED; and

       2.      Plaintiff’s ISA count is DISMISSED.

IT IS SO ORDERED.

                                                 /s/ James E. Boasberg
                                                 JAMES E. BOASBERG
                                                 United States District Judge

Date: January 18, 2018




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